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                   EXHIBIT 2-12
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                       Highly Confidential - Attorneys' Eyes Only

1                  UNITED STATES DISTRICT COURT
2                NORTHERN DISTRICT OF CALIFORNIA
3                      SAN FRANCISCO DIVISION
4
5     -------------------------
6     ORACLE AMERICA, INC.,                     )
7            Plaintiff,                         )
8     vs.                                       ) No. CV 10-03561 WHA
9     GOOGLE, INC.,                             ) VOLUME I
10           Defendant.                         )
11    -------------------------
12
13       HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
14
15           Videotaped Deposition of NOEL POORE,
16           taken at 42 Chauncy Street, Boston,
17           Massachusetts, commencing at 2:05 p.m.,
18           Wednesday, September 7, 2011, before
19           Jill Shepherd, RPR, MA-CSR No. 148608,
20           NH-CSR No. 128, CA-CSR No. 13275, CLR,
21           and Notary Public.
22
23
24
25    PAGES 1 - 95

                                                                         Page 1

                    Veritext National Deposition & Litigation Services
                                      866 299-5127



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1          discussed my report with Mr. Vandette.                           14:36:07

2     Q.   Did you discuss your report with Erez                            14:36:11

3          Landau?                                                          14:36:17

4                      MS. AGRAWAL:       Objection.         Form.          14:36:18

5     A.   No.                                                              14:36:19

6     Q.   Did you discuss your report with Seeon                           14:36:19

7          Birger?                                                          14:36:22

8                      MS. AGRAWAL:       Objection.         Form.          14:36:22

9     A.   No.                                                              14:36:23

10    Q.   Anyone else you discussed your report with                       14:36:24

11         other than Professor Mitchell and                                14:36:30

12         Mr. Kessler?                                                     14:36:32

13                     MS. AGRAWAL:       Objection.         Form.          14:36:33

14    A.   I don't recall discussing it with anyone                         14:36:33

15         else, no.                                                        14:36:39

16    Q.   Did you discuss it with some attorneys; is                       14:36:39

17         that correct?                                                    14:36:43

18                     MS. AGRAWAL:       And I caution -- I                14:36:43

19         instruct the witness -- caution the witness                      14:36:44

20         not to reveal attorney-client privileged                         14:36:46

21         communications; but to the extent you can                        14:36:48

22         answer the question with a yes or no, you                        14:36:50

23         can answer.                                                      14:36:52

24    A.   Yes, I have.      I have discussed the report                    14:36:53

25         with attorneys, yes.                                             14:36:56

                                                                          Page 24

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